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 5   Attorney for Defendant, JENI FRIES

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 7

 8                                     UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     CASE NO. 1:17-cr-00198-LJO-SKO

12                        Plaintiff,               MODIFICATION OF PRE-TRIAL
                                                   CONDITIONS;
13          v.                                     STIPULATION AND REQUEST
                                                   TO REMOVE LOCATION MONITOR;
14   JENI FRIES,                                   [PROPOSED] ORDER THEREON

15                        Defendant.

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17

18          TO THE ABOVE-ENTITLED COURT:

19          IT IS HEREBY STIPULATED by and between Defendant, JENI FRIES, her attorney of
20   record, CAROL ANN MOSES, and Assistant United States Attorney, KIMBERLY A.
21
     SANCHEZ, that the location monitor on Defendant is to be removed on October 11, 2017. United
22
     States Pre-Trial Services officer Ryan Beckwith and Elizabeth Gutierrez endorse the removal of
23
     the location monitor.
24

25          The request is based on JENI FRIES’ satisfactory performance of conditions imposed on

26   Pre-Trial release.

27          All other Pre-Trial Conditions of Release will stay in effect as previously ordered by the
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     Case 1:17-cr-00198-LJO-SKO Document 154 Filed 10/11/17 Page 2 of 2


 1   Court.
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 3

 4   Dated: October 09, 2017                                By: /s/ Carol Ann Moses
                                                                   CAROL ANN MOSES
 5                                                                 Attorney for Defendant,
                                                                   JENI FRIES
 6

 7
     Dated: October 09, 2017                                PHILLIP A. TALBERT
 8                                                          United States Attorney

 9                                                          /s/ Kimberly A. Sanchez
                                                            KIMBERLY A. SANCHEZ
10                                                          Assistant United States Attorney
11

12                                         [PROPOSED] ORDER

13            For the reasons set forth above, the request for Pre-Trial modification of conditions of
14
     release is granted as to JENI FRIES in Case NO: 1:17-cr-00198-LJO-SKO.
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16
     IT IS SO ORDERED.
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18      Dated:      October 11, 2017                           /s/ Barbara A. McAuliffe                  _
                                                         UNITED STATES MAGISTRATE JUDGE
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